        Case 4:21-cv-00450-JM Document 152 Filed 06/21/22 Page 1 of 3




                IN THE UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF ARKANSAS
                          CENTRAL DIVISION

DYLAN BRANDT, et al.,                                                  PLAINTIFFS

v.                       CASE NO. 4:21-CV-00450-JM

LESLIE RUTLEDGE, et al.,                                            DEFENDANTS

                         STIPULATION AND ORDER

             The parties, by and through their counsel, respectfully submit the

following Stipulation:

             WHEREAS, this Court granted the parties’ Stipulation and Proposed

Revised Scheduling Order on February 28, 2022, which set the deadline for all

motions, with the exception of motions in limine, to be filed on or before June 17,

2022, motions in limine to be filed on or before June 28, 2022, responses thereto

shall be filed seven days thereafter, and the trial for the week of October 17, 2022.

             WHEREAS, on June 16, 2022 counsel to both parties conferred

regarding outstanding motions. Plaintiffs requested additional time to file their

motions because certain counsel are ill with COVID-19. The parties agreed to

stipulate to a short extension of the deadline to file and respond to motions.

             NOW, THEREFORE, the parties, by and through their counsel, hereby

stipulate and agree to an extension for the deadline for all motions, with the
        Case 4:21-cv-00450-JM Document 152 Filed 06/21/22 Page 2 of 3




exception of motions in limine, to June 22, 2022, the deadline for any responses to

these motions to July 15, 2022 the deadline for all motions in limine to July 20, 2022.

Dated: June 21, 2022

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                                        IT IS SO ORDERED.


                                        Hon. James M. Moody, Jr.
                                        United States District Judge
